     Case 2:22-cv-04119-WLH-JC Document 130 Filed 07/29/24 Page 1 of 4 Page ID #:2821




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12     Facsimile: (213) 443-1904
13                                     UNITED STATES DISTRICT COURT
                                      CENTRAL DISTRICT OF CALIFORNIA
14
15
         UNITED STATES SECURITIES                      Case No. 2:22-cv-04119-WLH-JCx
16       AND EXCHANGE COMMISSION,
17                         Plaintiff,                  PLAINTIFF SEC’s NOTICE OF
18                v.                                   MOTION

19       WESTERN INTERNATIONAL                         Date: August 30, 2024
         SECURITIES, INC., NANCY COLE,                 Time: 1:30pm
20       PATRICK EGAN, ANDY
         GITIPITYAPON, STEVEN                          Ctrm: 9B
21       GRAHAM, and THOMAS SWAN,                      Judge: Judge Hsu
22                         Defendants,
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       Plaintiff’s Notice of Motion                                Case No. 2:22-cv-04119- WLH-JCx
     Case 2:22-cv-04119-WLH-JC Document 130 Filed 07/29/24 Page 2 of 4 Page ID #:2822




1      TO DEFENDANTS AND COUNSEL OF RECORD:
2
               PLEASE TAKE NOTICE that Plaintiff Securities and Exchange Commission
3
       (“SEC”)’s Unopposed Motion for Entry of Final Judgments by Consent will be
4
5      heard on Friday, August 30, 2024 at 1:30pm or at another time designated by the
6
       Court, in Courtroom 9B before the Honorable Wesley L. Hsu, United States District
7
8      Judge for the Central District of California, at 350 W. 1st Street, Los Angeles,

9      California 90012.
10
11
       Dated: July 29, 2024
12
13                                         /s/ Ariella Omholt Guardi
14                                         Ariella Omholt Guardi
                                           United States Securities and Exchange Commission
15                                         Chicago Regional Office
16                                         175 W. Jackson Boulevard, Suite 1450
                                           Chicago, Illinois 60604
17                                         Telephone: 312-353-7410
18                                         Email: guardia@sec.gov
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        Plaintiff’s Notice of Motion              1                 Case No. 2:22-cv-04119-WLS-JC
     Case 2:22-cv-04119-WLH-JC Document 130 Filed 07/29/24 Page 3 of 4 Page ID #:2823




1                                      CERTIFICATE OF SERVICE
2      I hereby certify that on the 29th day of July, 2024, I electronically filed the above
3      with the Clerk of the Court using the CM/ECF system, which will send a notice of
4      electronic filing to all counsel of record.
5                                               _/s/ Ariella O. Guardi
6                                                            Ariella O. Guardi
7                                               Attorney for Plaintiff U.S. Securities and
                                                Exchange Commission
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        Plaintiff’s Notice of Motion                 2               Case No. 2:22-cv-04119-WLS-JC
     Case 2:22-cv-04119-WLH-JC Document 130 Filed 07/29/24 Page 4 of 4 Page ID #:2824




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       Plaintiff’s Notice of Motion                          Case No. 2:22-cv-04119- WLH-JCx
